                      Case 1:18-mj-08861-UA Document 7 Filed 11/02/18 Page 1 of 1
                                                                                                                   OR\G\NAL
DOCKET No. --=-l-=-8..=.:M=a=g'-'8=8-=-6-=--l_ _ _ _ _ __          DEFENDANT Natalie Mayflower Sours Edwards


AUSA Daniel Richenthal                                             DEF.' S COUNSEL _...,M""'....
                                                                                             ar..._c.._.A...g.._.m"'"·fiuclo"'-==--=-------
                                                                   lll RETAINED D FEDERAL DEFENDERS D CJA D PRESENTMENT ONLy
0 ________ INTERPRETER NEEDED
                                                                               0 DEFENDANT WAIVES PRETRIAL REPORT

Ill Rule 5 D Rule 9 D Rule 5(c)(3) D Detention Hrg.                    DATE OF ARREST 10/16/18                        DvoL. suRR.
                                                                       TIME OF ARREST _ _ _ _ __                      DON WRIT
D Other:     --------------~
                                                                       TIME OF PRESENTMENT ~2~:3~0_ _


                                                            BAIL DISPOSITION

0 DETENTION ON CONSENT W/O PREJUDICE           0 DETENTION:
0 DETENTION HEARING SCHEDULED FOR:
Ill AGREED CONDITIONS OF RELEASE       ---------+r
Ill DEF. RELEASED ON OWN RECOGNIZANCE
Ill $ 100 000      PRB Ill 2     FRP
0 SECURED BY$                CASH/PROPERTY:
Ill TRAVEL RESTRICTED TO SDNY/EDNY/ED Vir inia DC SDNY for this c                     tween.
0 TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
Ill SURRENDER TRAVEL DOCUMENTS (&NO NEW APPLICATIONS)
                                                                            X"'t cf"''\ ..
0 PRETRIAL SUPERVISION: 0 REGULAR 0 STRICT Ill AS DIRECTED BY PRETRIAI,.]SEij..VICES
0 DRUG TESTING/TREATMT AS DIRECTED BY PTS 0 MENTAL HEALTH EV AL/TREATMT AS DIRECTEb~Y'PTS-"                                                   _,, __
0 DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT
0   HOME INCARCERATION      0 HOME DETENTION 0 CURFEW 0 ELECTRONIC MONITORING 0 GPS
0   DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

Ill DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] 0 DEF. TO CONTINUE OR START EDUCATION PROGRAM
0 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON
0 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
Ill DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: - - - - - - - - - -
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ;REMAINING CONDITIONS TO BE MET BY: _ _ _ __

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

 --Defendant is prohibited from accessing, including electronically, any FinCEN property or database without the express
 permission of the Director of FinCEN or his designee, and Pretrial.
 -- Defendant may not have contact with any witnesses, including "CCI" or "Reporter 1," except in the presence of
 counsel.
 --Defendant may not possess any firearms. This prohibition does not prohibit firearms to be stored in a safe where the
 defendant may reside, so long as she does not have access to the safe.
 --Defendant may not consume controlled substances without a valid prescription.

0   DEF. ARRAIGNED; PLEADS NOT GUILTY                        0 CONFERENCE BEFORE D.J. ON
0   DEF. WAIVES INDICTMENT                                                               ------
0   SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) UNTIL _ _ _ __

For Rule 5(c)(3) Cases:
0 IDENTITY HEARING WAIVED                                         0 DEFENDANT TO BE REMOVED
0 PRELIMINARY HEARING IN SDNY WAIVED                              0 CONTROL DATE FOR REMOVAL: - - - - - -

PRELIMINARY HEARING DATE: 12/3/2018                               121 ON DEFENDANT'S CONSENT

DATE: 11/2/2018
                                                                            UNITE
.MiIIE (original)- COURT FILE      PINK- U.S. ATTORNEY'S OFFICE                                                      JAL SERVICES AGENCY
Rev'd 2016
